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:N THE UNITED sTATEs DISTRICT coURT

FOR THE wEsTERN DISTRICT oF TENNESSEE 35 JUM _8 pH m 114
wEsTERN DIVISION

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w.D. o:~'“ m trespass

 

JOHN SPAIN,
Plaintiff,

V. NO. 05-2240 Ml/P

WAL-MART STORES, EAST, L.P.,

Defendant.

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ORDER SETTING TRIAL AND PRETRIAL DATES

 

Pursuant to Local Rule 72.l(f), a Rule l€(b) Scheduling Order
was entered on May 24, 2005, by United States Magistrate Judge Tu
M. Pham. In accordance with the deadlines established in that
order, trial and pretrial dates are set as follows before the

District Court:

l. The jury trial in this matter, which is anticipated to
last two (2) days, is set to begin Mondav, May l, 2006 at
9:30 a.m. in Courtroom no. 4.

2. A pretrial conference is set for Monday, April 24, 2006
at 9:00 a.m.

3. The joint pretrial order and proposed jury instructions
and Voir dire questions are due by no later than 4:30

p.m. on April 17c 2006.

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Absent good cause, the dates established by this order shall

not be extended or modified.

IT IS SO ORDERED this 25 day of June, 2005.

d€m&©l@

JO PHIPPS MCCALLA
UN TED STATES DISTRICT JUDGE

   

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 5 in
case 2:05-CV-02240 Was distributed by faX, mail, or direct printing on
June 9, 2005 to the parties listed.

 

 

Jimmy Moore

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Honorable J on McCalla
US DISTRICT COURT

